                                          Case 5:18-cr-00172-BLF Document 277 Filed 10/27/21 Page 1 of 1




                                   1

                                   2

                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                       SAN JOSE DIVISION

                                   6

                                   7     UNITED STATES OF AMERICA,                       Case No. 18-cr-00172-BLF-1
                                   8                    Plaintiff,
                                                                                         ORDER REQUESTING
                                   9             v.                                      CLARIFICATION ON
                                                                                         GOVERNMENT’S POSITION
                                  10     MICHAEL KAIL,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          At the October 19, 2021 hearing, the Government volunteered that the Sumo Logic stock is

                                  14   not subject to forfeiture. The Government represented that the Sumo Logic stock certificates were

                                  15   seized in 2015, and the Government failed to include the stock in the indictment filed on

                                  16   April 26, 2018. ECF No. 1. At the hearing, the Government’s position appeared to be that the

                                  17   Sumo Logic stock did not constitute “subsequently located property” under Federal Rule of

                                  18   Criminal Procedure 32.2, because the Government had constructive knowledge of the stock at the

                                  19   time the indictment was filed.

                                  20          The Government now argues in its supplemental briefing that the Sumo Logic stock is

                                  21   subject to forfeiture under Rule 32.2. See ECF No. 276 at 1. Accordingly, the Court ORDERS the

                                  22   government to clarify its position on the Sumo Logic stock on or before October 29, 2021.

                                  23          IT IS SO ORDERED.

                                  24

                                  25   Dated: October 27, 2021

                                  26                                                 ______________________________________
                                                                                     BETH LABSON FREEMAN
                                  27                                                 United States District Judge
                                  28
